                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:24-cv-00968-GPG-STV

EZAMIKA BROWN,

        Plaintiff,

v.

SERGEANT MARQUEZ,
JUAREZ, CORRECTIONAL OFFICER,
MARK FAIRBAIRN, WARDEN,
LORENZO TOBIN, CAPTAIN,
LINDSAY GOUTY, HEALTH SERVICES ADMINISTRATOR,
NURSE LISA HANKS,
NURSE RAMONA C. CARPIO,

        Defendants.


     MOTION FOR EXTENSION OF TIME IN WHICH TO RESPOND TO PLAINTIFF'S
                         DISCOVERY REQUESTS


        Defendants Marquez, by and through her counsel of record, Katherine M.L. Pratt

of Ruegsegger Simons & Stern, LLC, hereby moves for an extension of time in which to

respond to Plaintiff's written discovery requests, and states as follows:

                             CERTIFICATE OF CONFERRAL

        Pursuant to D.C.COLO.LCivR 7.1(b), counsel for Defendant Marquez is not

obligated to confer with Plaintiff, who is a pro se prisoner.

                                          MOTION

        1.       Defendant Marquez, while she was represented by other counsel, was

served with written discovery requests from Plaintiff. The deadline for her responses is

currently June 6, 2025. See ECF No. 79.


{04922953.DOCX;1 }
        2.       The undersigned recently withdrew from representing Ms. Gouty and now

only represents Ms. Marquez. Ms. Pratt is in need of additional time to continue her

review and analysis of documents relevant to the case, to confer with and advise

Defendant Marquez, and to continue familiarizing herself with the status of the above-

captioned matter which has been ongoing for over a year.

        3.       Furthermore, the Court granted Plaintiff’s request for appointment of pro

bono counsel. See ECF 70. The attorneys of Newman McNulty, LLC may accept

appointment as pro bono counsel for Plaintiff. The deadline for filing a Notice Declining

Appointment is currently June 23, 2025. See ECF No. 85. If counsel enters the case,

that may alter the status of progression of discovery.

        4.       Accordingly, Defendant Marquez hereby moves for an additional 30 days in

which to respond to Plaintiff's written discovery requests, up to and through July 7, 2025.

        5.       This request is not made to cause unnecessary delay and will not prejudice

any other party or the Court.

        6.       Good cause exists for the requested extension of time given the issues in

the case and the long pendency of this civil action prior to undersigned counsel’s

involvement.

        7.       By contrast, Defendant Marquez would be prejudiced if she is forced to

respond to written discovery requests at this time.

        8.       Furthermore, the Court set a status conference for July 8, 2025, at 11:00

a.m. before Magistrate Judge Varholak. See ECF 81.




{04922953.DOCX;1 }
        9.       This is the fourth extension of time sought by Defendant Marquez to

respond to Plaintiff's written discovery requests, and the first sought through undersigned

counsel.

        10.      Pursuant to D.C.COLO.LCivR. 6.1(c) and as specified in the certificate of

service below, undersigned counsel shall provide a copy of the instant motion to

Defendant Marquez.

        WHEREFORE, for good cause shown, Defendant Marquez respectfully requests

an extension of the deadline to respond to Plaintiff's written discovery requests to and

through July 7, 2025.

        Dated this 4th day of June, 2025.


                                            Respectfully submitted,


                                            s/Katherine M.L. Pratt
                                            Katherine M.L. Pratt
                                            Ruegsegger Simons & Stern, LLC
                                            1700 Lincoln St., Suite 4500
                                            Denver, CO 80203
                                            T: 303-575-8061
                                            Email: kpratt@rs3legal.com

                                            ATTORNEY FOR DEFENDANT MARQUEZ




{04922953.DOCX;1 }
                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 4, 2025, a true and correct copy of the above
and foregoing MOTION FOR EXTENSION OF TIME IN WHICH TO RESPOND TO
PLAINTIFF'S DISCOVERY REQUESTS was electronically filed with the Clerk of the
United States District Court for the District of Colorado using the CM/ECF system, which
will email the following:

Abigail L. Smith                               and was served via U.S. Mail to the
Joshua Urquhart                                following:
Assistant Attorneys General
Colorado Department of Law                     Ezamika Brown
1300 Broadway, 10th Floor                      # 116759
Denver, CO 80203                               Arkansas Valley Correctional Facility
Email: abigail.smith@coag.gov                  12750 Hwy 96 at Lane 13
Email: joshua.urquhart@coag.gov                Ordway, CO 81034

Attorneys for Defendants Juarez,               Plaintiff, pro se
Fairbairn, Tobin, Nurse “Lisa,” and
Carpio

and was electronically served via email
only to the following:

Moriama Marquez

                                          s/Hannah Hibbs
                                          Hannah Hibbs, Paralegal




{04922953.DOCX;1 }
